     Case 2:11-cr-00107-WFN    ECF No. 547   filed 10/28/11    PageID.1345 Page 1 of 1




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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                )
 8                                              )   No. CR-11-107-WFN-16
                         Plaintiff,             )
 9                                              )   ORDER GRANTING MOTION TO
       v.                                       )   MODIFY CONDITIONS OF RELEASE
10                                              )
       GABRIEL SANTIAGO MEDINA,                 )
11                                              )
                         Defendant.             )
12                                              )

13          The Defendant’s unopposed Motion to remove electronic home

14    monitoring (ECF No. 543) is GRANTED. All other conditions of release

15    shall remain, including the curfew.             Pretrial Services shall have

16    the   discretion    to     alter   the    curfew        as   needed   for   special

17    circumstances.

18          IT IS SO ORDERED.

19          DATED October 28, 2011.

20
21                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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28

      ORDER GRANTING MOTION TO MODIFY CONDITIONS OF RELEASE - 1
